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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                       )
UNITED STATES OF AMERICA,              )
      Plaintiff,                       )
                                       )    Civil Action No. 99-CV-2496 (PLF)
      and                              )    Next scheduled court appearance:
                                       )           May 31, 2022
TOBACCO-FREE KIDS                      )
ACTION FUND, et al.                    )
      Plaintiff-Intervenors,           )
                                       )
      v.                               )
                                       )
PHILIP MORRIS USA INC., et al.,        )
                                       )
      Defendants,                      )
                                       )
      and                              )
                                       )
ITG BRANDS, LLC, et al.                )
      Post-Judgment Parties Regarding  )
      Remedies.                        )
                                       )
                                       )

                      JOINT MOTION FOR STATUS CONFERENCE
                             AND STAY OF DEADLINES

       After extensive, months-long discussions and negotiations, the Parties 1 have reached an

agreement in principle to settle the point-of-sale messaging portion of the corrective-statements

remedy. The Retailers participated in the Parties’ discussions and negotiations. The Parties




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    The Parties are the United States and the Public Health Intervenors (collectively “Plaintiffs”);
Philip Morris USA Inc., Altria Group, Inc., and R.J. Reynolds Tobacco Company (individually,
as successor in interest to Brown & Williamson Tobacco Corporation, and as successor to Lorillard
Tobacco Company) (collectively “Defendants”); and ITG Brands, LLC, Commonwealth Brands,
Inc., and Commonwealth-Altadis, Inc. (collectively “Remedies Parties”). Defendants and
Remedies Parties are collectively referred to as “Manufacturers.” The non-party national retailer
groups (“Retailers”) that intend to participate in the hearing are the National Association of
Convenience Stores (“NACS”) and the National Association of Tobacco Outlets (“NATO”).
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believe that the proposed settlement is a fair and equitable resolution, promotes judicial economy

and the interests of justice and, if approved by the Court, will obviate the need for the scheduled

evidentiary hearing.

       The Parties’ proposed settlement covers nine main components:

       1) the placement and number of corrective-statement signs adjacent to the main cigarette

           merchandising display at participating retail locations;

       2) the placement of corrective-statement signs near the main customer entrance at certain

           participating retail locations;

       3) the design of corrective-statement signs;

       4) the duration of the period during which participating retail locations must post the

           corrective-statement signs;

       5) the rotation of corrective-statement signs at participating retail locations;

       6) the display of corrective-statement signs in Spanish at participating retail locations that

           (i) are required to display two or more corrective-statement signs and (ii) are located in

           certain Census tracts;

       7) an auditor to conduct in-person audits to review compliance with the settlement remedy

           at participating retail locations;

       8) consequences for participating retail locations upon findings (via in-person audits) of

           minor and major noncompliance with the settlement remedy and separate consequences

           for Manufacturers if in-person audits reveal major noncompliance above a threshold

           percentage of audited participating retail locations; and

       9) the establishment of a working group to address implementation and compliance issues.




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       The Parties, with continued input from the Retailers, are working diligently to reduce the

agreement in principle into a proposed consent decree that complies with the requirements of

Federal Rule of Civil Procedure 65 and can be submitted to, and adopted by, the Court. The Parties

also have discussed a procedure and timeline for finalizing, and securing the Court’s approval of,

the proposed settlement, including the questions of (1) whether affected retailers should be

provided notice of the proposed settlement and an opportunity to be heard and (2) how to maintain

a trial schedule if settlement is ultimately not possible. The Parties would benefit from the Court’s

input on and resolution of these issues. Accordingly, the Parties jointly request that the Court

convene a status conference in this matter at its soonest convenience and stay all pending deadlines

pending the status conference. The Retailers have no objection to the Court granting the relief

requested by the Parties in this Joint Motion.

       WHEREFORE, the Parties jointly request that the Court convene a status conference in

this matter and stay all pre-hearing and hearing deadlines pending the status conference and further

order of the Court.




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Dated: May 3, 2022                 Respectfully submitted,




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